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                    IN THE UNITED STATES DISTRICT COURT

               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                         :

v.                                               :     CRIMINAL NO. 19-728

CRAIG ALEX LEVIN,                                :
    a/k/a “Alex Loring,”
    a/k/a “Robert Smith”                         :


                 UNITED STATES’ SENTENCING MEMORANDUM

     I.       Introduction

           The United States requests a sentence of 600 months (50 years) and lifetime

supervised release for this defendant who preyed upon hundreds of impoverished

young children in the Philippines for the purpose of satisfying his own deviant

sexual desires.

     II.      Procedural History

           On May 6, 2021, a grand jury sitting in the Eastern District of Pennsylvania

returned a 16-count Superseding Indictment against Craig Alex Levin, charging the

following criminal violations:

     • Foreign Travel to Engage in Sex with a Minor, 18 U.S.C. § 2423(b) (Counts

           One through Nine);




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   • Attempted Sex Trafficking of a Minor, 18 U.S.C. §§ 1591 and 1594 (Counts

      Ten and Eleven);

   • Use of an Interstate Commerce Facility to Entice a Minor to Engage in Sexual

      Activity, 18 U.S.C. § 2422(b) (Count Twelve);

   • Distribution of Child Pornography, 18 U.S.C. § 2252(a)(2) (Counts Thirteen

      and Fourteen);

   • Transfer of Obscene Material to a Minor, 18 U.S.C. § 1470 (Count Fifteen);

      and

   • Transportation of Child Pornography, 18 U.S.C. § 2252(a)(1) (Count

      Sixteen).

      The Superseding Indictment was filed after the investigation revealed the

defendant’s sexual abuse and exploitation of numerous minor girls in the

Philippines, including his use of Facebook Messenger to arrange to have sex with

minor children in the Philippines, his travel from the United States to the Philippines

with a motivating purpose of having commercial sex with minor children, his

arranging for a minor to have commercial sex with another United States citizen so

that the minor would have the money to repay a debt to him, his distribution of

images of minors engaged in sexually explicit conduct and obscene material to a

Facebook user who described herself as a 13-year-old-girl, and his transporting a



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laptop containing child pornography with him when he traveled from the United

States to the Philippines.

      On June 29, 2022, the defendant appeared before this Court and pled guilty

pursuant to a written plea agreement that he negotiated with the United States that

called for his plea of guilty to six of the sixteen counts in the Superseding Indictment:

   • Foreign Travel to Engage in Sex with a Minor, in violation of 18 U.S.C. §

      2423(b) and (t) (Counts 6 and 9);

   • Attempted Sex Trafficking of a Minor, in violation of 18 U.S.C. §§ 1591(a)(l),

      (b)(2), (c), 1594, and 1596(a)(l) (Count 11);

   • Distribution of Child Pornography, in violation of 18 U.S.C. § 2252(a)(2),

      (b)(l) (Counts 13 and 14); and

   • Transportation of Child Pornography, in violation of 18 U.S.C. § 2252(a)(l)

      and (b) (Count 16)

      The charges arose from his travel from the United States to the Philippines on

numerous dates with a motivating purpose of having commercial sex with minor

children, his arranging for a minor to have commercial sex with another United

States citizen so that the minor would have the money to repay a debt to him, his

distribution of images of minors engaged in sexually explicit, and his collection of

child pornography that he transported with him from the United States to the

Philippines.

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    III.     Factual Background1

         Defendant Craig Levin has been traveling to the Philippines since at least

2002, and his Facebook messages suggest he has been doing so for almost the last

40 years, specifically, as early as 1984. In fact, he met both of his ex-wives in the

Philippines. Since at least 2014, the defendant has used Facebook Messenger to

communicate with minor girls in the Philippines. He connected with girls he had met

and those he hoped to meet, and enticed them with promises of money, clothes,

phones, and even birthday cake. When the defendant traveled to the Philippines,

typically for a month or more at a time, he rented hotel rooms and had minor girls

meet him there where he would pay them (about $20) for sex. He also paid other

individuals, at least one of whom was a minor, to recruit other minors to have sex

with him in the Philippines. The defendant had sexually charged conversations with

girls on Facebook and exchanged hundreds of pictures with minor girls, some of

which are child pornography. During at least one online conversation with a girl who

the defendant believed to be a minor, he transmitted pornographic photographs of

minor girls as well as a photograph which he claimed to be his own penis.

         Between August 29, 2016, and May 8, 2019, defendant Craig Alex Levin, a

United States citizen, traveled from the United States to the Philippines nine times,


1
  The factual background is taken from the United States’ Change of Plea Memorandum, to which the defendant
stipulated prior to the entry of his guilty plea on June 29, 2022. See Guilty Plea Hearing transcript (“GPT”) at 27 to
30. The Change of Plea Memorandum totals 29 pages, and excerpts from the Memorandum are recited here, but the
full Change of Plea Memorandum is incorporated by reference.

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as set forth in the chart below. Each time he did so, commercial sex with minors was

a motivating purpose of his travel.

                  Count       U.S. Departure Date     Trip Duration
                   One          August 29, 2016        20 ½ Weeks
                   Two         February 12, 2017         4 Weeks
                  Three           July 14, 2017          4 Weeks
                   Four       September 18, 2017         2 Weeks
                   Five        November 7, 2017          4 Weeks
                    Six         February 6, 2018       21 ½ Weeks
                  Seven       September 24, 2018         6 Weeks
                  Eight         January 27, 2019        6 ½ Weeks
                   Nine           May 6, 2019         Arrested during
                                                          this trip



      The defendant’s purpose in traveling is evident from his social media chats

from his Facebook account and from the statements of two of the minor children

(Minors 2 and 3) with whom he had sex during his trips to the Philippines. Indeed,

Levin’s Facebook Messenger records contain thousands of pages of messages

between Levin and other users who held themselves out to be minor girls in the

Philippines. In these conversations, Levin arranged to meet these girls for sex while

in the Philippines. The full set of facts in the United States’ Change of Plea

Memorandum sets forth multiple excerpts from his Facebook communications,

which demonstrate the elements of the offenses with which he is charged, and which

also show that his victims were poor and desperate, frequently writing to Levin that

they were willing to meet for commercial sex because they were hungry or needed

money for medicine for family members.

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      The defendant also distributed child pornography over the internet to a 13-

year-old child. While still in the United States, on April 13, 2019, Levin sent Minor

4 an image of a naked minor female lasciviously exhibiting her genitals through

Facebook Messenger. This image was sent after the date on which Minor 4 told him

that she was merely 13 years old. The defendant asked Minor 4, “Do u want to see

picture of young girl” and then sent her a naked photo of a minor.

      LEVIN:         do u want to see picture of young girl

      MINOR 4: ok hehe

      LEVIN:         how young

      MINOR 4: 12-14

      LEVIN:         o.k.

      MINOR 4: did u send?

      (Photo sent)

      MINOR 4: look pornstar hehe

      LEVIN:         13 year-old- from Russia

      The photo shows a minor laying back with her legs spread open, the focal

point of the photograph being her genital and pubic area. She is naked, has minimal

breast development, and lacks any pubic hair. She appears to be approximately 12

or 13, consistent with the defendant’s representation. The defendant again sent

Minor 4 another child pornography image on April 17, 2019. That photo depicted a

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naked minor female who appears to be engaged in a sex act as she is straddling a

person lying naked underneath her and she has one hand behind her head. Both the

minor and the man appear to be naked and their bodies are touching in the groin

area, but their genitals are not visible.

       MINOR 4: nice pic ..who is that?

       LEVIN:        I took it from the internet. I think she is 12 or 13.

       On May 24, 2019, the defendant was arrested in the Philippines, about to enter

the elevator to his hotel room, with Minor 3, who was 15 years of age at the time.

During a search incident to arrest, Philippines National Police (PNP) recovered a

fake identification, in a name close to that of Minor 3, on the defendant’s person.

The identification provided a false date of birth, purporting that Minor 3 was over

the age of 18. After his arrest, Philippines National Police executed a search warrant

on his hotel room. There they found, inter alia, condoms, lubricating gel, women’s

underwear, notebooks, and a computer. The notebooks contain the name of hundreds

of girls, many of which correspond with Facebook records and most under the age

of 18, and a rating system, assigning the girls a number 1 to 10 in each of the

following categories: Face, Body, Sex, Personality, and Age. Only girls under 18

received a score of 10 in the “Age” category. A search of a forensic image of the

laptop from his hotel room showed that it contained more than 500 images

containing child pornography. The defendant had this child pornography on his

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computer when he left the United States on May 6, 2019, and when it was found in

his hotel room on May 31, 2019.

   IV.    The United States’ Recommendation is Reasonable and Necessary to
          Comply with § 3553(a)

      The recommendations of the Sentencing Guidelines are no longer mandatory,

but sentencing courts “must consult these Guidelines and take them into account

when sentencing.” United States v. Booker, 543 U.S. 220, 264 (2005).              The

Sentencing Guidelines are “the ‘starting point and the initial benchmark.’”

Kimbrough v. United States, 552 U.S. 85, 108 (2007) (quoting Gall v. United States,

552 U.S. 38, 49 (2007) (noting that the Guidelines should “be kept in mind

throughout the process”). The sentencing court must conduct a two-step process:

first calculating the sentence using the advisory Sentencing Guidelines, and then

applying an individualized assessment under the statutory sentencing factors set

forth in 18 U.S.C. § 3553(a). United States v. Boulware, 604 F.3d 832 (4th Cir.

2010). These factors include:

      (1) the nature and circumstances of the offense and the history and
      characteristics of the defendant;

      (2) the need for the sentence imposed—

             (A) to reflect the seriousness of the offense, to promote respect for the
             law, and to provide just punishment for the offense;

             (B) to afford adequate deterrence to criminal conduct;

             (C) to protect the public from further crimes of the defendant.
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      ….

      (6) the need to avoid unwarranted sentence disparities among defendants
      with similar records who have been found guilty of similar conduct

18 U.S.C. § 3553(a).

      Here, the Sentencing Guidelines for Defendant recommend life

imprisonment, but the plea agreement between the parties limits the United States

to advocating for a sentence of no more than 50 years. The United States seeks a

50-year term of imprisonment, lifetime supervised release, and a ban on all contact

with the child victims and any other minor child, both while the defendant is in the

custody of the Bureau of Prisons and while on supervised release.

      The plea agreement does not limit or bind the Court.

      A. Nature and Circumstances of the Offense

      Defendant’s criminal conduct is extremely serious and demands an

appropriately stringent sentence. He targeted a population that is the most vulnerable

in our global society: children. Even worse, he selected children who were especially

disadvantaged financially in the Philippines. He chose this country because he well

knew that he could abuse and exploit these children in a way that he could never do

in the United States. In other words, of the already most vulnerable humans on the

planet, he chose ones that were in the weakest position to resist him, isolated them

from their family, and then used their bodies to sexually gratify himself. He

manipulated his victims into a situation where they were powerless to resist. He is a
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wolf in sheep’s clothing, posing as benevolent by offering gifts and money in

exchange for children’s innocence. He used fear and intimidation, due to his

money’s power and influence, to keep them from reporting it.

      The length of time that the defendant engaged in these crimes also warrants

severe punishment. His own records show he has been traveling to the Philippines

for the last 40 years, and his notebooks – in which he created a twisted “rating”

system of these girls – evidence that he has sexually abused and exploited these

children for years, at least as early as 2012.

      B. History & Characteristics of the Defendant

      Many defendants involved in other federal crimes, such as drugs and guns,

have dire family life circumstances that lead them to the all-too-predictable path of

crime. The defendant in this case experienced the antithesis of that lifestyle. He was

raised by both parents who had an “excellent” relationship and who provided for

him as a child. PSR ¶ 91. Defendant described his own childhood and adolescence

as “excellent” as well. PSR ¶ 93. “At all times, the defendant and his brother were

provided with a stable environment with their basic needs (food, clothing, and

shelter) met by their parents.” PSR ¶ 94. He did not suffer any type of physical,

emotional, or sexual abuse during his lifetime. PSR ¶ 94.

      For 20 years before he retired, he was gainfully employed as a “special

education teacher, coach, and Department Chair” in the Lower Merion School

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District, making $95,000 per year. PSR ¶ 114. At the time of his arrest in 2019, he

was supporting himself through his $3,000/month pension.

       Defendant has no history of mental illness or psychological disorder. PSR ¶

107. He described his own physical health as “excellent.” PSR ¶ 105. Defendant also

has two sons with whom he is still close. PSR ¶ 96. And his only brother is still very

supportive of Defendant, saying “I do not believe that my brother committed this

crime, and we never will,” he stated, “I believe my brother is a good man, and he is

supported by us.” PSR ¶ 100.

       While committing these crimes, he had a supportive family, including adult

children, his brother, and even his ex-wife. He had a comfortable residence, a steady

income, and sufficient financial resources. Yet, he committed these egregious crimes

by deceiving family and those outside the family into believing he was a good guy.

Moreover, he has a good education, including a master’s degree in elementary

education. PSR ¶ 74. In other words, he was not lured or coerced through unfortunate

circumstances to this life of crime. Instead, he raced down the path of his own

volition and with full knowledge of what he was doing. If anything, the history and

characteristics of this defendant militates in favor of increased punishment, not

against it.

       Indeed, every individual faces challenges in their life, some more severe, some

less. But no challenge excuses or mitigates the types of vile offenses committed by


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Defendant. The victims of his crimes—impoverished children within his reach

exploited in the worst moments of their lives—are the ones who experience

challenges beyond imagination. On balance, the history and characteristics of

Defendant make clear that he has lived a stable life with family support, and had

adequate education and financial resources to live a law-abiding life. He was not

corralled into this crime by a series of unfortunate life circumstances. Rather, he

chose his path. His sentence should reflect those facts.

      C. Seriousness of the Offense, Promoting Respect for the Law,
         Providing Just Punishment

      There can be no question that the Defendant’s offenses are among the most

serious under the law. As a consequence of being victimized by Defendant, these

children are now at an increased risk of falling prey to alcohol abuse, illicit drug use,

adolescent pregnancy, and suicide. Research in this area is startling and

demonstrates the need for a significant punishment.

      In the late 1990s, the Kaiser Permanente San Diego Health Appraisal Clinic,

a primary care clinic where more than 50,000 adult members of an HMO receive

medical examinations, began a study to examine the long-term relationship between

Adverse Childhood Experiences (ACEs) and a variety of health behaviors and health

outcomes in adulthood. First, they took a survey of adults who were members of the

Kaiser HMO to determine the number of ACEs experienced. An ACE was defined

to include an experience occurring to the adult before the age of 18 such as verbal
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abuse, physical abuse, contact sexual abuse, a battered mother, household substance

abuse, household mental illness, incarcerated household members, and parental

separation or divorce. The survey data was collected in 1995 through 1997.

      In early 2009, using the National Death Index mortality data, researchers

analyzed how many of the 17,337 original survey respondents were deceased 10

years after the survey. The results were startling. “People with six or more ACEs

died nearly 20 years earlier on average than those without ACEs.” David W. Brown,

et al, Adverse Childhood Experiences and the Risk of Premature Mortality, 37

American Journal of Preventive Medicine 389-96 (2009). In other words, if a person

in the control group lived to 79.1 years old, that same person will only live to age

60.6 years old if she experienced six or more ACEs before the age of 18.

      While it is certainly alarming to know that serious negative experiences in

childhood could be correlated with such a precipitous drop in life expectancy, the

ACE Study expressly observed that “[t]here are several reasons to believe that these

estimates of the relationship between ACEs and premature death are conservative.”

(Id. at 394 (emphasis added).) Indeed, when the initial survey was conducted in

1995 to 1997, approximately 60% of the survey respondents were already 50 years

or older. Given that fact, “it is reasonable to postulate that people who are exposed

to ACEs (particularly multiple ACEs) are more likely (compared to those who are

unexposed) to be aborted; die during childhood or young adulthood; be


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institutionalized; or be otherwise lost prior to the initiation of the ACE Study.” (Id.

at 394-95.) In other words, the ones who lived long enough and thrived well enough

to be available for the HMO study were the most resilient of those who had

experienced 6 or more ACEs; yet even that resilient group experienced a premature

mortality of 20 years. In addition, the survey respondents were of a population who

were enrolled in a major health plan at that time, i.e., “predominantly white, middle-

class adults.” (Id. at 394.) Due to these facts about the survey population, “the

association between ACEs and premature all-cause mortality would be biased

downward.” (Id. at 395.) In other words, it is reasonable to conclude that an ACE

victim’s risk of premature mortality is even greater than the ACE Study results show.

That is especially so for Defendant’s victims who are raised in a country where 18%

of the population live below the poverty line. See

https://databankfiles.worldbank.org/public/ddpext_download/poverty/987B9C90-

CB9F-4D93-AE8C-750588BF00QA/current/Global_POVEQ_PHL.pdf

(last accessed March 1, 2023). Indeed, the mortality rate for females in the

Philippines is 6 years younger than in the United States (74 vs. 80). See

https://data.worldbank.org/indicator/SP.DYN.LE00.FE.IN?locations=PH

(last accessed March 1, 2023).

      Additional research using the same survey data has drilled deeper to better

understand the relationship between the severity of the childhood sexual abuse (not


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just adverse childhood experiences) and the long-term health and social problems.

See Shanta R. Dube, et al, Long-Term Consequences of Childhood Sexual Abuse by

Gender of Victim, 28 American Journal of Preventive Medicine 430-38 (2005).

First, the study bifurcated the population of sexual abuse victims by classifying them

into “sexual abuse, no intercourse” and “intercourse.” Intercourse was defined as

answering yes to the question of whether any “adult, relative, family friend, or

stranger ever” attempted or actually had “any type of sexual intercourse with you

(oral, anal, or vaginal).”

      Using those definitions and categories, the study showed that adult women

who were sexually abused in the form of intercourse as a child, were 360% more

likely to attempt suicide than women who had never been sexually abused as a child.

(Id. at 432, Table 4.) Equally unsettling was that even the children who experienced

non-intercourse sexual abuse (so-called “just fondling”) were 80% more likely to

attempt suicide than those who had never been sexually abused. Sadly, this data set

does not (because it cannot) include actual suicides, which undoubtedly would

increase the odds described in the study.

      In addition to suicide risk, non-intercourse female child sexual abuse victims

were 60% more likely to use illicit drugs (“street” drugs, e.g., meth, heroin, cocaine),

and 50% more likely to have alcohol problems. Even worse, intercourse victims

were 90% more likely to have these problems. (Id.)


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      Yet another analysis of the same data looked at whether exposure to ACEs

increased the risk of adolescent pregnancy and fetal death. See Susan D. Hillis, et

al, The Association Between Adverse Childhood Experiences and Adolescent

Pregnancy, Long-Term Psychosocial Consequences, and Fetal Death, 113

Pediatrics 320-27 (2004). Compared with women who did not report any ACEs,

there was a 60% increased risk in adolescent pregnancy for those who experienced

childhood sexual abuse. (Id. at 322.) More disturbingly, “a strong and independent

trend was observed for the association between ACE score and fetal death as the

outcome of the first pregnancy.” (Id. at 323.) In other words, even an ACE score of

1 resulted in a 7.6% increased risk in that woman’s first pregnancy resulting in fetal

death, and 10.2% increased risk for 5 or more ACEs. (Id.) That is, “[a]s the ACE

score rose in these younger women, the risk of fetal death as the outcome of the first

pregnancy increased.” (Id. at 323-24.) In sum, “the cumulative and chronic exposure

to stress associated with ACEs during childhood led to an increased risk of

nonviability for the infant, persisting through both the first and second pregnancies.”

(Id. at 325.) Below is a chart summarizing the increased health risks to people like

the victims in this case:

                  Years of life lost                         18.5
                  Increased risk of attempted suicide        80%
                  Increased risk of using street drugs,      60%
                  e.g., meth, heroin, cocaine
                  Increased risk of adolescent pregnancy     60%

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                  Increased risk in first pregnancy            7.6%
                  resulting in fetal death

      Section 3553(a)(2)(A) instructs this Court to fashion a sentence “to reflect the

seriousness of the offense, to promote respect for the law, and to provide just

punishment for the offense.” (emphasis added). The scientific research interpreting

the ACE Study very clearly demonstrate the profound long-term consequences of

various kinds of adverse childhood experiences, especially childhood sexual abuse.

For Defendant’s victims, who were exploited by him, they now have a significantly

increased risk of attempting suicide, using illicit drugs, and having alcohol problems.

In addition, they are at substantially greater risk of getting pregnant as an adolescent,

and, independent of when they get pregnant, they are far more likely to have their

first or second pregnancy end in the death of their baby before birth. Finally, there

is an increased chance that they will die nearly 20 years early. In short, by using

these victims as sexual objects for his own base gratification, Defendant has forever

impacted their lives in ways that have significant long-term health consequences.

      Defendant robbed these girls of their innocence. There is no telling what

damage he has ultimately caused, and whether they will ever be able to live

productive, healthy lives. A significant sentence of imprisonment would therefore

be both reasonable and appropriate—“just punishment” in the terms of § 3553(a)—

given the lifelong consequences that these victims will likely experience due to

Defendant’s reprehensible acts.
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      D. Adequate Deterrence & Protect the Public

      Both specific and general deterrence call for significant sentences above the

mandatory minimum to send a message that engaging in repeated sexual abuse of

children that causes extensive harm, will result in a federal prison term that takes

one far into old age, if not an effective life sentence. A long sentence is also

necessary to minimize the risk of harm to the public lest this Defendant return to

society at an age where his physical functioning and predilections enable continued

inappropriate sexual behavior. Indeed, if the best predictor of sexual recidivism is

the age of the defendant (the younger upon release, the more likely to commit a new

sexual crime), then the corollary is also true: The longer they remain in prison, the

older they will be upon release, and thus the less likely they will be to commit a new

sexual crime.

      The risk Defendant poses to children is immense. Thus, the public has a right

to be protected from this defendant who has demonstrated an unequivocal desire to

engage in sexual activity with children as young as 12-years-old.

      To the extent Defendant argues that a sentence near the minimum would be

“sufficient, but not greater than necessary” because such sentence would take him

into his late 70s, the reality is that even if Defendant were imprisoned long enough

that he would be less likely to commit sexual assaults on children, scholarly research




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in this area demonstrates that sexual predators like Defendant will simply change

their modus operandus:

       Generally, older sex offenders engage in more passive sexual activity
       as compared to their younger counterparts. For example, fondling by
       elderly offenders is more prevalent than intercourse. Research has
       shown that elder offenders are more likely to commit ‘nonviolent’
       sexual offenses such as pedophilia or exhibitionism as opposed to
       ‘violent’ offenses such as forcible rape. Specific examples of these
       ‘nonviolent’ offenses include improperly touching an acquaintance,
       statutory rape, exposing of the genitals (usually to a minor), and other
       acts of exhibitionism.

Matt Hart, The Geriatric Sex Offender: Senile or Pedophile?, 32 Law & Psychol.

Rev. 153 (2008). Indeed, a simple Google search reveals numerous news reports of

older individuals committing sex crimes against children.

   •  79-year-old “Gainesville man charged with child molestation” -
     https://www.dawsonnews.com/news/crime-courts/gainesville-man-charged-
     child-molestation/
   • “79-year-old York man who put his child victims through ‘terrible sexual
     abuse’” - https://yorkmix.com/jailed-79-year-old-york-man-who-put-his-
     child-victims-through-terrible-sexual-abuse/
   • 78-year-old “Cherokee County, N.C. [man] charged with sexually assaulting
     children” - https://wlos.com/news/local/cherokee-county-nc-men-charged-
     with-sexually-assaulting-children
Moreover, there are dozens of examples of defendants over the age of 60 who have

been sentenced in federal court for the production of child pornography, which is

effectively the federal equivalent of a contact sex offense, and the most common

charge for a contact offender in federal court. Gordon Elton Hayes was 60 years old

when he produced child pornography of three minor victims in Alabama. United


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States v. Hayes, 4:07-cr-62 (N.D. Al.) (sentenced to 3,720 months). Benton Stong

was 74 years old at the time he produced child pornography involving 10- to 12-

year-old victims in Iowa. United States v. Stong, 6:13-cr-214 (N.D. Ia.) (sentenced

to 1,320 months).

      Furthermore, there are also plenty of examples of older defendants who re-

offended even after serving prison sentences. Jerry Lee Hendricks was 66 years old

when he was convicted of producing child pornography of one victim in Illinois

after previously being convicted in South Carolina (Chesterfield County and

Darlington County) of “Lewd acts on a child under 16” when he was 56 years old.

See United States v. Hendricks, 12-CR-20025 (C.D. Ill. June 26, 2014). Other

examples abound. See United States v. McGee, 10-CR-162, Doc. No. 71 (S.D. Ala.

Mar. 3, 2011) (62-year-old defendant sentenced to life for production of child

pornography following prior sex conviction); United States v. Pavulak, 09-CR-43,

Doc. Nos. 1, 120, 121 (D. Del. Oct. 14, 2011) (67-year-old defendant sentenced to

life for production of child pornography following prior sex conviction).

      The bottom line is that people are living longer, the quality of health care in

the Bureau of Prisons is better than some inmates would receive outside of prison,

and the sexual attraction to children is a life-long problem that will not magically

go away at a certain advanced age. Accordingly, attempts to speculate into the

future about this Defendant’s physical abilities to act on his life-long desire to have


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sex with children when he is in his 70s or 80s are just that: Speculation. Absent

additional information about this defendant’s actual health situation at that time,

this Court cannot (and should not) adjust its sentence based upon the arbitrary

assertion that people in their 70s or 80s are less likely to offend against children.

      E. Need to Avoid Unwarranted Sentencing Disparities

      This Court has no doubt encountered cases involving the sexual exploitation

of children. The facts of this case, however, are remarkable in their depravity.

Defendant manipulated the children (and their parents in some instances) so that he

could isolate them away from their parents in a hotel room where he gave them cheap

gifts and small amounts of money to persuade them to do what they otherwise would

never have done voluntarily: engage in sexual acts with Defendant. He executed his

plan after obvious planning. It was utterly diabolical.

      There are examples of similar cases across the country in which the defendant

received a sentence similar to (or more severe than) that being requested by the

United States in this case. In the most similar case, United States v. Day, 8:19-cr-

354 (M.D. Fl.), the defendant, between 2014 and 2017, communicated on Facebook

with over 30 minor boys located in Vietnam. These communications included

countless requests by the defendant to engage in sex acts with these boys, including

oral sex. Some of the defendant’s communications also included requests for the

minor boys to send the defendant pornographic images of themselves, some of

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whom complied. Consistently throughout these communications, the defendant

would ask these boys how old they were, and all of the boys responded that they

were various ages, between 12 and 18 years.

      Also between 2014 and 2017, the defendant traveled back and forth between

Florida and Vietnam, to engage in sex acts with minor boys. In exchange for sex

acts, the defendant promised the boys small amounts of Vietnamese currency and

sometimes even American merchandise, such as shoes and hats. (See United States’

Sentencing Memorandum, Doc. No. 120). The defendant, Christopher Day, pled

guilty to two counts of 18 U.S.C. § 2423(b) (travel with intent to engage in illicit

sexual activity) and two counts of 18 U.S.C. § 2422(b) (attempted enticement of a

minor to engage in sexual activity). The defendant did not have any prior criminal

history. The court sentenced him to life imprisonment.

      The similarities between the Day case and the Levin matter are clear and

obvious. Both defendants utilized Facebook to communicate and entice their victims

while the defendants were in the United States and the victims were in their

respective impoverished country. Both defendants repeatedly traveled from the

United States to the foreign country over the course of several years. Both defendants

engaged in sexual activity with children as young as 12 years old. Both defendants

engaged in sexual activity with dozens of children. There is no meaningful




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difference between these defendants, except that Levin victimized significantly more

children than did Day.

      In another remarkably similar case, United States v. Edward Sanchez, 19-cr-

00850 (SDTX), the defendant frequently traveled to the Philippines to engage in

illicit sexual conduct with several children ages 12-15. Like Levin, he sent them

money because they “needed powdered soap for laundry, food, medicine for

themselves or their sick relatives, shoes for their training in their respective athletic

disciplines, and teddy bears.” (See United States’ Pretrial Memorandum, Doc. No.

74.) When he was in the Philippines, he would take these children, “from

impoverished backgrounds, to the cinema, the mall, and to local restaurants and ice

cream parlors.” (Id.) Sanchez went to trial and was convicted. The court sentenced

him to life in prison. There is also no meaningful difference between this defendant

and Levin, again except for the significantly larger volume of victims attributable to

Levin.

      In United States v. Earl G. Rice, Jr., 19-CR-30167 (SDIL), the 59-year-old

defendant engaged in online communications with a 13-year-old girl in a

neighboring state, and then traveled there to engage in sexual conduct with the child

on one occasion. The defendant did not have any prior sex convictions. The United

States requested a sentence of 40 years, but the Court went above that

recommendation, and sentenced the defendant to 50 years in prison.


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      In United States v. Thomas John Boukamp, 20-CR-100 (NDTX), the

defendant, from his home in Michigan, engaged in online communications with a

14-year-old girl in Texas, traveled to Texas and then transported the girl back to

Michigan where he engaged in sexual conduct with her. This defendant went to trial,

and the court sentenced him to life in prison.

      Defendant Levin’s conduct is arguably worse than all of the cases listed above

simply by virtue of the volume of victims in Levin’s wake. Additionally, he kept

detailed records of his hundreds of victims. Using a 10-point scale, he scored his

victims according to five categories: Face, Body, Sex, Personality, Age. A thorough

review of his scoring system makes it clear that any person who was 18 would

receive a score below 10 in the Age category. Likewise, any child under the age of

18 would receive a 10 in the Age category. That fact alone shows his paraphilic

disorder of sexual interest in children. As the excerpt from his notebooks below

makes clear, he noted the age of the girls, including two who were 12-years-old, one

who was 13, and another who was 14.




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      As the above cases make clear, the United States’ request, along with

Probation’s recommendation, is commensurate with similar cases from different

jurisdictions—from Texas to Illinois to Florida—where very similarly situated

defendants were sentenced for similar conduct. Therefore, a sentence of 50 years

would not result in a sentencing disparity.

      Likewise, there are multiple examples of cases from this District in which

significant sentences were imposed for conduct that is arguably less egregious than

Levin’s. For example, in United States v. Maffei (Crim. No. 16-511), Judge Goldberg

sentenced the defendant to 90 years (statutory maximum) plus lifetime supervised

release for his sexual abuse of a 9-year-old girl over a one-week period during which

he videotaped the abuse. Defendant Levin’s criminal conduct far exceeds that of the

abuse of one child over a one-week period; indeed, Levin repeatedly abused




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hundreds of victims over the course of many years. Below are other examples from

this District:

   • United States v. Bristol (Crim. No. 18-375, J. Pappert) – 360 months

       imprisonment; Lifetime supervised release. Defendant was 62 years of age at

       time of sentencing, had corresponded with girls in the Philippines, and

       purchased sex shows in which children were sexually abused at his direction.

       He then attempted to travel (as he had done many times before) to the

       Philippines to have sex with two girls in particular but was arrested as he tried

       to board the plane.

   • United States v. Perez-Colon (Crim. No. 18-108, J. Pratter) – 660 months

       imprisonment. Defendant abused 2-year-old on one occasion and distributed

       images over the internet.

   • United States v. Gonzalez (Crim. No. 18-305, J. Beetlestone) – 400 months

       imprisonment. Defendant sexually abused his victims as part of his production

       of CSAM crimes.

   • United States v. Moury (Crim. No. 21-433, J. McHugh) – 420 months

       imprisonment. Defendant abused his victim as part of his production of

       CSAM crimes.




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   • United States v. Norman (Crim. No. 19-179, J. Bartle) – 336 months

      imprisonment. Defendant corresponded online with two underage girls and

      had them self-produce CSAM.

   • United States v. Paolini (Crim. No. 19-162, J. Quinones-Alexandro) – 360

      months imprisonment. Defendant was in her 50s at time of commission of

      offense, in which she victimized teenaged boys online and had them self-

      produce CSAM.

      F. Counts Should Run Consecutively

      U.S.S.G. § 5G1.2(d) provides that counts should run consecutively if the

statutory maximum of the highest count is less than the total punishment. Here,

Defendant scored a Level 47 on the Guidelines, which is well beyond the end of

the table’s capacity that ends at Level 43. Anything 43 or higher calls for a

recommended life sentence. Because the highest statutory maximum is 30 years for

Counts 6 and 9, and 20 years for Counts 13, 14 and 16, this Court should run

enough of the counts consecutively to ensure that Defendant spends 50 years in

prison. See United States v. Bailes, 665 F. App'x 340, 343 (5th Cir. 2016)

(affirming 1,620-month sentence in child pornography production, distribution,

receipt, and possession case where court ran counts consecutive pursuant to §

5G1.2(d)); United States v. Fruge, 451 F. App’x 434, 437 (5th Cir. 2011)

(affirming 720-month sentence in child pornography production case where

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defendant pled guilty to two counts and court ran both counts consecutive,

pursuant to § 5G1.2(d), to achieve Guidelines recommendation of Life); United

States v. Slaydon, 360 F. App’x 538, 540 (5th Cir. 2010) (affirming court’s

imposition of consecutive sentences on possession and production of child

pornography counts, pursuant to § 5G1.2(d)); see also United States v. Sarras, 575

F.3d 1191, 1209 (11th Cir. 2009) (affirming 1200-month sentence in child

pornography production case where Guidelines called for Life, but statutory

maximum was 30-years, so court stacked counts pursuant to § 5G1.2(d)).

   V.      Lifetime supervised release is reasonable and appropriate

        Regardless of the term of imprisonment, this Court should impose a term of

supervised release that extends for the life of the defendant. “Supervised release

fulfills rehabilitative ends, distinct from those served by incarceration.” United

States v. Johnson, 529 U.S. 53, 59 (2000). Supervised release is not a punishment

in lieu of incarceration. See United States v. Granderson, 511 U.S. 39, 50 (1994).

If being on supervised release were the punitive equivalent of being in prison, and if

it served the just desserts function, there would be no need to put most criminals in

prison. See United States v. Irey, 612 F.3d 1160, 1210 (11th Cir. 2010). The life

term recommendation contained in Section 5D1.2(b) is evidence that recidivism

rates for sex offenders do not appreciably decline as offenders age. See H.R. Rep.

No. 107-527, at 2 (2002) (discussing the merits of a life term of supervised release


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for sexual offenders); see also supra (discussing defendants over the age of 60 who

have committed similar federal child exploitation crimes). Because, in sex crimes

cases, there is no reason to believe that the need for supervision inherently decreases

with time, Congress found lifetime supervised release to be appropriate, and thus

directly inserted such a recommendation into the Guidelines.           See id.    More

specifically, the passage of 18 U.S.C. § 3583(k) recognized the long-standing

concerns of federal judges and prosecutors regarding the inadequacy of the existing

supervision periods for sex offenders, particularly for the perpetrators of child sexual

abuse crimes, whose criminal conduct may reflect deep-seated aberrant sexual

disorders that are not likely to disappear within a few years of release from prison.

Many of these offenders need long term or lifetime monitoring and oversight. See

H.R. Conf. Rep. No. 108-66, at 49-50 (2003), reprinted in 2003 U.S.C.C.A.N. 683,

684. A term of supervised release for life is reasonable and appropriate in this case

to achieve rehabilitative ends and to protect children from further victimization.

   VI.     Conclusion

      This Court has the opportunity to bring security to the community—here in

eastern Pennsylvania, in the larger community of America, and, most especially, to

the community of the Philippines where Defendant was intending to live the rest of

his life—by ensuring that children do not have to worry about being targeted by a

predator such as Defendant for a very long time. This Court also has the opportunity


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to provide the victims in this case with a chance at peace and closure by imposing a

total punishment of 50 years (600 months) so that the Defendant may never harm

them or any other American or Filipino children again.

      The evidence shows that Defendant engaged in this depraved sexual abuse of

children for years. But in doing so, he gave these victims a lifetime of trauma and

hardship. Forevermore, these victims will have to face embarrassing, stressful,

awful conversations with their families, friends, people they date, and maybe

someday, their own kids. It is one of the burdens that Defendant saddled these

victims with for the rest of their lives. Their victimization is an albatross of anxiety

that cannot be buried, but instead must be shouldered by these victims until they are

each laid to eternal rest. Their lives are forever changed in the most profound ways.

And this Defendant’s life should be changed as well: By spending the next 50 years

of his life behind bars, just as the victims will suffer a lifetime of emotional and

psychological imprisonment for the sexual crimes he committed against them.

                                        Respectfully submitted,

                                        JACQUELINE C. ROMERO
                                        United States Attorney

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                                         /s Austin M. Berry
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Date: March 6, 2023.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this day I caused a true and correct copy of the

United States’ Sentencing Memorandum to be filed electronically on the Electronic

Case Filing System and is available for viewing and downloading from the ECF

system, and is also being served by electronic mail on the following defense

counsel:

                          John J. McMahon, Jr., Esquire
                           mcmahonlaw@hotmail.com


                                        /s Austin M. Berry
                                       AUSTIN M. BERRY
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Date: March 6, 2023.




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